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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                           MDL No. 2179
       “Deepwater Horizon” in the Gulf
       Of Mexico, on April 20, 2010
                                                          SECTION: J
This Document Relates to:
                                                          JUDGE BARBIER
Case No. 2:10-cv-04536
                                                          MAG. JUDGE SHUSHAN



MEMORANDUM IN SUPPORT OF MOTION FOR ESTABLISHMENT OF DEADLINE
           FOR FILING THIRD PARTY CLAIMS IN 10-4536

          BP Exploration & Production Inc., defendant, moves the Court for an Order that allows it

until April 20, 2011, to file any third-party complaints, in the action brought against it and other

defendants on December 15, 2010. This constitutes an extension of two days beyond the

deadline required by FRCP 14(a)(1). Establishment of this particular deadline will bring into

congruence the deadlines for cross-claims in MDL 2179 (see Record Doc. No. 1730) and this

action involving the United States’ claims under the Clean Water Act and Oil Pollution Act of

1990.


                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 14th day of April, 2011.

                                             /s/ Don K. Haycraft




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